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                             Exhibit A
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1
2            IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
3                              HOUSTON DIVISION
4
5                                       In re:
6               MOUNTAIN EXPRESS OIL COMPANY, et al.,
7                                   Debtors.
8
9                         Case No. 23-90147(DRJ)
10                                Chapter 11
11
12                                    Auction
13                     Moderated by Geoffrey Richards
14                          Friday, August 4, 2023
15                      6:09 p.m. EDT/5:09 p.m. CDT
16
17
18                            Remote Proceeding
19                     320 Park Avenue, 12th Floor
20                       New York, New York 10022
21
22
23      Reported by: Nicole Veltri, RPR, CRR
24
25

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1
2       A P P E A R A N C E S:
3
4
        RAYMOND JAMES & ASSOCIATES
5         320 Park Avenue, 12th Floor
          New York, New York 10022
6         BY: GEOFFREY RICHARDS, ESQ.
              SCOTT GARFINKEL, ESQ.
7             ROGER WOODMAN, ESQ.
              BEN BROWNLOW, ESQ.
8             JAKE WAINWRIGHT, ESQ.
              MICHAEL MACELUCH, ESQ.
 9
10
11      PACHULSKI STANG ZIEHL & JONES LLP
          10100 Santa Monica Boulevard, 13th Floor
12        Los Angeles, California 90067-4003
          BY: JEFF POMERANTZ, ESQ.
13            JEFFREY DULBERG, ESQ.
14
15
        FTI CONSULTING
16        166 Avenue of the Americas, 15th Floor
          New York, New York 10036
17        BY: MICHAEL HEALY
18
19
        GREENBERG TRAURIG LLP
20        Terminus 200
          3333 Piedmont Road NE, Suite 2500
21        Atlanta, Georgia 30305
          BY: JOHN ELROD, ESQ.
22            SHARI HEYEN, ESQ.
23
24
25

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1
2       List of Attendees:
3               John Tibus, as financial adviser to
4               the agent
5               Paula Davis, First Horizon Bank
6               Donald Turbyfill, Ford Motor Credit
7               Company LLC
8               Ron English, JT Petroleum LLC
9               Alex Rhim, Realty Income
10              Sam Nasser, SMD Oil
11              Tom Terry, Sunoco
12              Chip Damico, Sunoco
13              Adam Rosen, the Creditors' Committee
14              Julius Schwarz, GPM Investment/ARKO
15              Corp.
16              Eyal Nuchamovitz, GPN
17              Arie Kotler, ARKO Corp./GPM
18              Investment
19              Travis Booth, GPM Investments
20
21
22                      *             *               *
23
24
25

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1                                Proceedings
2                        MR. RICHARDS:              Good evening.
3                   My name is Geoffrey Richards, and I'm
4                   the senior managing director of
5                   Raymond James, the Debtors'
6                   court-approved investment banker.
7                   I'm joined by a number of other
8                   representatives both from my firm as
9                   well as Pachulski Stang, the Debtors'
10                  court-approved law firm, and FTI; and
11                  what I would like to do is to ask the
12                  representatives first from Raymond
13                  James to identify themselves, then
14                  the Pachulski team, and then the FTI
15                  team, please.
16                       MR. GARFINKEL:               Scott Garfinkel
17                  from Raymond James.
18                       MR. WOODMAN:             Roger Woodman,
19                  Raymond James.
20                       MR. BROWNLOW:              Ben Brownlow,
21                  Raymond James.
22                       MR. WAINWRIGHT:                Jake
23                  Wainwright, Raymond James.
24                       MR. MACELUCH:              Michael
25                  Maceluch, Raymond James.

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1                                Proceedings
2                        MR. POMERANTZ:               Jeff Pomerantz,
3                   Pachulski Stang.
4                        MR. DULBERG:             Jeffrey Dulberg,
5                   Pachulski.
6                        MR. RICHARDS:              And then I think
7                   the FTI team.
8                        MR. HEALY:           Michael Healy, FTI
9                   Consulting.
10                       MR. RICHARDS:              Okay.
11                       And then with that, if I can
12                  ask the other people on the line to
13                  identify themselves and which
14                  constituents they represent, please.
15                       MR. ELROD:           Good evening.         It's
16                  John Elrod, of Greenberg Traurig LLP,
17                  on behalf of First Horizon Bank as
18                  DIP agent.
19                       MS. HEYEN:           Shari Heyen,
20                  Greenberg Traurig, on behalf of First
21                  Horizon, the agent.
22                       MR. TIBUS:           John Tibus, as
23                  financial adviser to the agent.
24                       MS. DAVIS:           Paula Davis, First
25                  Horizon Bank.

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1                                Proceedings
2                        MR. TURBYFILL:               Donald
3                   Turbyfill on behalf of Ford Motor
4                   Credit Company LLC.
5                        MR. ENGLISH:             Ron English for
6                   JT Petroleum LLC.
7                        MS. RHIM:          And this is Alex
8                   Rhim on behalf of Realty Income, the
9                   successor to 42 ARLA (phonetic) and
10                  42 OKLA (phonetic) are the parties
11                  indicated as the contract parties.
12                       MR. NASSER:            This is Sam
13                  Nasser, SMD Oil.
14                       MR. RICHARDS:              Tom Terry, are
15                  you on?
16                       MR. TERRY:           Yes.          Tom Terry is
17                  on from Sunoco, as is Chip Damico,
18                  which is D-A-M-I-C-O.
19                       MR. RICHARDS:              And then I also
20                  see -- sorry, again, this is Geoff
21                  Richards.     I also see a
22                  representative from the Creditors'
23                  Committee, Adam Rosen; is that right?
24                       MR. ROSEN:           Yes.          Adam Rosen
25                  with Province, financial adviser to

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1                                Proceedings
2                   the Creditors' Committee.
3                        MR. RICHARDS:              And I see that
4                   Julius Schwarz has joined.                Julius,
5                   can you just identify yourself for
6                   the record?       We are just going around
7                   to identify who all the participants
8                   are on the call, please?
9                        (There was no response.)
10                       MR. RICHARDS:              Julius, are you
11                  able to just identify yourself for
12                  the record?
13                       MR. SCHWARZ:             I'm sorry, Julius
14                  Schwarz is on.          I'm sorry, I'm
15                  actually in the car.
16                       MR. RICHARDS:              Can you just
17                  identify who you represent?
18                       MR. SCHWARZ:             I apologize.
19                  Julius Schwarz is on representing GPM
20                  Investment/ARKO Corp.
21                       MR. RICHARDS:              Thank you,
22                  Julius.     Are there any other people
23                  who are on this Zoom who have not yet
24                  identified themselves for the court
25                  reporter?

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1                                Proceedings
2                        MR. POMERANTZ:               Jeff, there's a
3                   215 number, did we get an appearance
4                   from them?      Doesn't say a name.
5                        MS. SCHWARZ:             By the way, I
6                   assume Arie and Eyal were invited.                       I
7                   assume they should be getting on in a
8                   second if they are not on yet.
9                        MR. POMERANTZ:               Is the 215 --
10                       MR. RICHARDS:              I see Eyal
11                  joining.
12                       MR. NUCHAMOVITZ:                   We didn't get
13                  the invite.
14                       MR. RICHARDS:              I'm sorry, as we
15                  talk, just to try to make it
16                  efficient for the court reporter.
17                  This is Geoff Richards.                   As people
18                  speak, we should identify ourselves
19                  to try to make it as easy for the
20                  court reporter as we can.                   The person
21                  who is at the 215-901-3991 number --
22                       MR. DAMICO:            That's me, Chip
23                  Damico with Sunoco LP.
24                       MR. RICHARDS:              Thank you very
25                  much, Chip.

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1                                Proceedings
2                        And then, Eyal, I notice that
3                   you're on.      Can you just identify
4                   yourself and who you're with for the
5                   record, please?
6                        MR. NUCHAMOVITZ:                   Yes, Eyal
7                   Nuchamovitz from GPN, E-Y-A-L.
8                        MR. RICHARDS:              Again, Geoffrey
9                   Richards.     Is there anybody else who
10                  has joined the call and not
11                  identified themselves?
12                       MR. NUCHAMOVITZ:                   I know that
13                  Arie is trying to call in.                   I see
14                  he's connecting.            Travis is
15                  connecting, too.
16                       MR. RICHARDS:              Again, Geoff
17                  Richards.     I think we've had two
18                  additional people who joined from
19                  GPM/ARKO.
20                       Arie, if I could ask you to
21                  identify yourself and who you're
22                  with; and then, Travis, if I can ask
23                  you to do the same, please.
24                       MR. KOTLER:            Yes, this is Arie
25                  Kotler, A-R-I-E, last name,

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1                               Proceedings
2                   K-O-T-L-E-R, with ARKO Corp./GPM
3                   Investment.
4                        MR. BOOTH:          This is Travis
5                   Booth, B-O-O-T-H; and I am with GPM
6                   Investments.
7                        MR. RICHARDS:             Anyone else who
8                   has joined the call who has not yet
9                   identified themselves?
10                       (There was no response.)
11                       MR. RICHARDS:             All right.
12                       So we are here to conduct the
13                  auction as contemplated by that
14                  certain Order approving bid
15                  procedures for sale of the Debtors'
16                  assets, approving bid protections,
17                  scheduling certain dates with respect
18                  thereto, approving the form and
19                  manner of notice thereof, and
20                  approving contract assumption and
21                  assignment procedures entered by the
22                  United States Bankruptcy Court for
23                  the Southern District of Texas on
24                  June 22nd, 2023, at Docket No. 701.
25                       I will refer to this Order as

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1                               Proceedings
2                   the Bid Procedures Order.               Pursuant
3                   to the Bid Procedures Order,
4                   July 21st was established as the
5                   deadline to submit bids; and
6                   July 28th was established as the date
7                   of the auction.
8                        The Debtors received 12 bids on
9                   or before the July 21st bid deadline
10                  and four additional bids following
11                  the July 21st bid deadline.                Certain
12                  of the bids were for the entire
13                  business, and others were for
14                  discrete groups of assets.               While the
15                  bids in totality indicated
16                  significant interest in the Debtors'
17                  assets, it included bid values
18                  ranging from $500,000 to $97 million.
19                  None of the bids were qualified bids
20                  as defined in the Bid Procedures
21                  Order.
22                       Based upon consultation with
23                  the Lenders and the Creditors'
24                  Committee, the Debtors needed more
25                  time to discuss the bids with the

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1                               Proceedings
2                   different bidders in order to attempt
3                   to eliminate contingencies in those
4                   bids and to negotiate documentation
5                   in an effort to convert those bids
6                   into qualified bids.
7                        Accordingly, on July 27th, the
8                   Debtors filed a Notice continuing the
9                   auction until August 2nd.               That
10                  document appears at Docket No. 1099.
11                  Subsequently, the Debtors filed the
12                  Notice extending the dates for
13                  objections to adequate assurance and
14                  objections to the sale until
15                  August 4th and August 7th
16                  respectively.
17                       Prior to August 2nd, Raymond
18                  James had conversations with
19                  virtually all of the bidders to
20                  further understand their bids,
21                  discuss contingencies in those bids,
22                  understand how the bidders were
23                  valuing the assets, explore whether
24                  there was flexibility on what assets
25                  those bidders were proposing to

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1                               Proceedings
2                   acquire, and the price those bidders
3                   were willing to pay.
4                        The goal was to determine
5                   whether there were bids or groups of
6                   bids that were competitive with one
7                   another as well as complementary to
8                   one another.       It could be grouped
9                   together to maximize value and
10                  present an alternative to WholeCo
11                  bids that have been submitted.
12                       Several of the many challenges
13                  the Debtors faced in the process was
14                  a substantial overlap amongst certain
15                  bids, the challenges in breaking up
16                  the mass releases for certain of the
17                  bids, the requirement in many of the
18                  bids for substantial lease
19                  concessions from different landlords,
20                  and the time required to close.
21                       As a result of these
22                  discussions, six parties indicated
23                  that they intended to participate in
24                  the auction.       Of those bids, only one
25                  was a bid for the whole company, or a

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1                               Proceedings
2                   WholeCo bid, and the rest were for
3                   discrete groups of assets.               The
4                   Debtors' professionals also asked
5                   that representatives of the Debtors'
6                   REITs, their major landlords, be
7                   available during the auction to meet
8                   with bidders, either in person or
9                   virtually, to discuss the terms on
10                  which those bidders would be willing
11                  to restructure their leases.
12                       The parties convened at Raymond
13                  James' offices at 10 a.m. on
14                  August 2nd.      The Debtors'
15                  professionals met with each of the
16                  bidders and the REIT landlords and
17                  explained that over the next several
18                  hours, the Debtors would be
19                  facilitating discussions between
20                  bidders and landlords, meeting with
21                  bidders to explore ways that bidders
22                  might be able to increase their bids
23                  and approach the WholeCo bidder to
24                  encourage the carve-out of certain
25                  assets from that bid to allow the

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1                               Proceedings
2                   Debtors to try to maximize value by
3                   adding partial lot bids to the
4                   WholeCo bid.
5                        After extended negotiations
6                   with all of the parties and with many
7                   discussions still ongoing, the
8                   Debtors' professionals informed all
9                   the parties that it was unlikely that
10                  the auction would be able to commence
11                  on August 2nd.
12                       Thereafter, the Debtors'
13                  professionals kept parties, as well
14                  as the Committee and landlord
15                  advisors, updated throughout the day;
16                  and during the day, the Debtors'
17                  professionals had more than 20
18                  meetings with the various parties all
19                  with the goal of maximizing value of
20                  the Debtors' assets and trying to
21                  increase certainty of close.
22                       Negotiations with parties
23                  continued throughout the evening, and
24                  the parties, as well as the Committee
25                  and Lender advisers, were informed

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1                                Proceedings
2                   that the auction would recommence on
3                   Thursday, August 3rd, at 11 a.m.; and
4                   then throughout the day, that time
5                   was postponed as negotiations
6                   continued.
7                        The auction was rescheduled for
8                   Friday, August 4th, at 10 a.m.; and
9                   we've continued the auction
10                  throughout the day today while
11                  parties worked on developing an
12                  actionable bid.           The discussions
13                  among the Debtors' professionals and
14                  the various bidders revealed certain
15                  realities which affected the auction
16                  dynamic and constrained bid value.
17                       First, ARKO, the WholeCo bid
18                  whom the Debtors are going to
19                  announce in a few minutes as the
20                  party that has submitted the highest
21                  and best proposal declined to
22                  carve-out assets from its bid in
23                  order to enable the Debtor to sell
24                  those assets to other bidders as a
25                  means of potentially increasing

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1                                Proceedings
2                   overall value.
3                        Second, many of the bidders'
4                   contingencies relating for lease
5                   concessions were not satisfied.
6                        Third, several parties revealed
7                   material time to close the
8                   transaction, or rather required
9                   material time to close the
10                  transaction; and the Lenders
11                  indicated that they were unwilling to
12                  extend any further financing to reach
13                  a closing.
14                       And, fourth, because the
15                  Debtors are unable to break their
16                  mass release with Oak Street, absent
17                  Oak Street and for that matter the
18                  other landlords' consent, this
19                  prevented partial bids seeking only a
20                  small portion of REIT portfolios from
21                  being actionable.
22                       As a result, the Debtors
23                  focused their efforts on negotiating
24                  a WholeCo bid with ARKO and seeking
25                  significant concessions from Oak

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1                               Proceedings
2                   Street in connection therewith.
3                        As a result of these
4                   protracted, constructive, and at
5                   times contentious negotiations is a
6                   Letter of Intent which is in the
7                   process of being finalized but has a
8                   number of key features.
9                        Before I describe those
10                  features, Jeff Pomerantz, is there
11                  anything that you want like to add
12                  before I go through that, please?
13                       MR. POMERANTZ:              No.   It's in
14                  the process of being finalized.
15                  There isn't an agreement yet, but we
16                  hope to have that finalized later
17                  today and on the docket.
18                       MR. RICHARDS:             Thank you.       With
19                  respect to the key features, first is
20                  a purchase price of approximately
21                  $49 million for all assets except the
22                  Debtors' owned real estate and
23                  pre-petitioned litigation claims
24                  against all parties except Oak Street
25                  and ARKO, also known as GPN.

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1                               Proceedings
2                        Second, a $13-and-a-half
3                   million nonrefundable deposit would
4                   be available to the Debtors to fund
5                   operations and professional fees
6                   until a closing not later than
7                   October 31st, 2023.              Approximately
8                   $16 million would be available at
9                   closing from which to pay certain
10                  claims which are subject to the DIP
11                  carve-out and also to pay certain
12                  excise taxes among other
13                  administrative claims.
14                       Importantly, Raymond James has
15                  agreed to reduce its M&A fee by $1
16                  million subject to recapture if there
17                  are cash flow savings prior to close;
18                  and Pachulski and FTI have agreed not
19                  to be paid $2 million at closing in
20                  fees which exceeded the budget.                  Up
21                  to $20 million at close to pay the
22                  Lenders.    The Lenders would also be
23                  entitled to any surplus funds not
24                  spent through the budget after
25                  Raymond James has paid its $1 million

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1                               Proceedings
2                   deferred fee.
3                        Oak Street would contribute to
4                   ARKO $18.75 million, which will be
5                   used to pay a portion of the purchase
6                   price.    Oak Street would defer three
7                   months of rent beginning in August
8                   until closing.         All other landlords
9                   would be given the option of
10                  deferring rent through closing,
11                  agreeing to restructure their leases
12                  and waive cure claims or the leases
13                  would be rejected at the end of
14                  August.
15                       The foregoing transaction of
16                  which that is a summary, as
17                  Mr. Pomerantz indicated a few minutes
18                  ago, the further details of which are
19                  in the process of being finalized and
20                  will be filed with the Court,
21                  provides the Lenders with up to a
22                  $20 million cash recovery on its new
23                  money DIP loan, plus upside related
24                  to assets that are retained under
25                  this transaction structure.

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1                               Proceedings
2                        The Debtors believe that this
3                   bid is superior to a liquidation of
4                   conversion.      It would preserve
5                   thousands of jobs and more than one
6                   hundred small businesses, and the
7                   Debtors intend to proceed with this
8                   transaction at the court hearing on
9                   Monday.
10                       Mr. Pomerantz, is there
11                  anything you would like to add to my
12                  comments?
13                       MR. POMERANTZ:              Yes.   Let me
14                  just clarify that last comment.
15                       We will not seek approval of
16                  the transaction on Monday.               We are
17                  going to provide the Court with an
18                  update regarding the process.                 We're
19                  going to provide the Court,
20                  obviously, with a Letter of Intent;
21                  and then we are going to discuss a
22                  path for finalizing an Asset Purchase
23                  Agreement and coming back to Court
24                  for further Court approval.                So any
25                  objections people have to the sale,

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1                               Proceedings
2                   to assumption and assignment of their
3                   contracts, or to the cure amounts
4                   will be preserved; and they will be
5                   provided sufficient time to file and
6                   prosecute those objections if they
7                   can't be resolved.
8                        MR. TIBUS:          This will be
9                   documented and sent over, you said
10                  around tonight?
11                       MR. POMERANTZ:              That's our
12                  intent and goal.           We are at the final
13                  stages, a couple issues left to
14                  resolve; but we will send it over to
15                  you, John, and the Lenders, in
16                  advance of filing it with the Court.
17                       MR. ELROD:          This is John Elrod
18                  on behalf of Lenders.                  The Lenders
19                  object to the conduct of the auction
20                  as it was not conducted in accordance
21                  with the bid procedures.                  We object
22                  to the characterization that the
23                  Lenders were consulted regarding the
24                  adjournment of the auction.                  The
25                  Debtors did this without the consent

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1                               Proceedings
2                   of the DIP agent.
3                        The Debtors' counsel has
4                   acknowledged that there are no
5                   qualified bidders and it has done --
6                   and the Debtors' investment banker
7                   has acknowledged that on the record
8                   here today.      The Debtors, moreover,
9                   did not consult with the consultation
10                  parties during the course of the
11                  auction as required under the bid
12                  procedures.
13                       Based on what we know today as
14                  the bid has been described, it is
15                  clear that the bid does not pay the
16                  secured Lenders in full.                  The DIP
17                  agent, therefore, objects to the
18                  Debtors' proposed sale.                  There are no
19                  definitive documents relating to the
20                  structure of the bid.                  There's no
21                  Asset Purchase Agreement for us to
22                  review as of today.              And, therefore,
23                  we reserve all rights until we see
24                  the final documents.
25                       MR. POMERANTZ:              This is Jeff

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1                                Proceedings
2                   Pomerantz.      Objections are noted, and
3                   I will not respond in this forum to
4                   these statements and assertions
5                   you've made and reserve all our
6                   rights to challenge you to these
7                   statements you've made today on the
8                   record.
9                           MR. RICHARDS:           So Geoff
10                  Richards again.           Unless,
11                  Mr. Pomerantz, you think there is
12                  anything else that we ought to cover,
13                  this, I think, concludes today; and
14                  we appreciate everyone's time and
15                  patience over the preceding days.
16                          Mr. Pomerantz, is there
17                  anything to add?
18                          MR. POMERANTZ:            Jeff Pomerantz,
19                  nothing else.
20                          MR. RICHARDS:           Thank you all
21                  for your time this evening.
22                          Again, we appreciate it very
23                  much.     I think, Ms. Veltri, we're off
24                  the record.
25                                    *****

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1                                Proceedings
2                           (Whereupon, at 6:30 p.m., the
3                   Proceedings were concluded.)
4
5                       °             °               °         °
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1
2                       C E R T I F I C A T E
3
4       STATE OF NEW YORK                    )
                                             :     SS.:
5       COUNTY OF SUFFOLK                    )
6
7
8                   I, NICOLE VELTRI, RPR, CRR, a Notary
9       Public for and within the State of New
10      York, do hereby certify:
11                  That the within is a true and
12      accurate transcript of the proceedings
13      taken on August 4, 2023.
14                  I further certify that I am not
15      related to any of the parties to this
16      action by blood or marriage and that I am
17      in no way interested in the outcome of this
18      matter.
19                  IN WITNESS WHEREOF, I have hereunto
20      set my hand this August 4, 2023.
21
22
                             <%19900,Signature%>
23                           __________________________
24                              NICOLE VELTRI, RPR, CRR
25

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